826 F.2d 1060Unpublished Disposition
    NOTICE: Fourth Circuit I.O.P. 36.6 states that citation of unpublished dispositions is disfavored except for establishing res judicata, estoppel, or the law of the case and requires service of copies of cited unpublished dispositions of the Fourth Circuit.Monroe C. PARKER, Rev., Petitioner-Appellant,v.Debra J. STUART, Assistant United States Attorney,Respondent-Appellee.
    No. 87-7079
    United States Court of Appeals, Fourth Circuit.
    Submitted June 22, 1987.Decided August 4, 1987.
    
      Monroe C. Parker, appellant pro se.
      Charles Robinson Brewer, Office of the United States Attorney, for appellee.
      Before HALL, SPROUSE and ERVIN, Circuit Judges.
      PER CURIAM:
    
    
      1
      A review of the record and the district court's opinion discloses that this appeal from its order refusing habeas corpus relief pursuant to 28 U.S.C. Sec. 2241 is without merit.  Because the dispositive issues recently have been decided authoritatively, we dispense with oral argument and affirm the judgment below on the reasoning of the district court.  Parker v. Stuart, C/A No. 86-0414-P (W.D.N.C., Feb. 23, 1987).
    
    
      2
      AFFIRMED.
    
    